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 Attorneys for Defendant/Cross-Claim
 Plaintiff

                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
 SAM HARGROVE, ANDRE HALL, and
 MARCO EUSEBIO, individually and on Civil Action No. 10-01138-PGS-
 behalf of all others similarly situated,        LHG

                  Plaintiffs,
 vs.

 SLEEPY’S, LLC,                              (HONORABLE PETER G.
                  Defendant.                      SHERIDAN)


                                                  FILED VIA ECF

 SLEEPY’S, LLC,

                  Cross-Claim Plaintiff,
 vs.

 I STEALTH, LLC, EUSEBIO’S
 TRUCKING CORP., and CURVA
 TRUCKING, LLC,

                  Cross-Claim
                  Defendants.
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                              NOTICE OF APPEAL
       Notice is hereby given that Defendant/Cross-Claim Plaintiff Sleepy’s, LLC

 (“Sleepy’s”) in the above-named case hereby appeals to the United States District

 Court for the Third Circuit from an Order which denied Sleepy’s Motion for

 Attorneys’ Fees and Sleepy’s Motion for Default Judgment and closed this case,

 which was entered on the 2nd day of May, 2012.

                                           Respectfully submitted,


                                           /s Elizabeth Tempio Clement
                                           Kimberly J. Gost
                                           Theo E.M. Gould
                                           Matthew J. Hank
                                           Elizabeth Tempio Clement
                                           LITTLER MENDELSON, P.C.
                                           THREE PARKWAY
                                           1601 Cherry Street, Suite 1400
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                                           Attorneys for Defendant/Cross-Claim
 Date: May 29, 2012                        Plaintiff Sleepy’s, LLC




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                           CERTIFICATE OF SERVICE

       I, Elizabeth Tempio Clement, hereby certify that on this 29th day of May,
 2012, I caused the foregoing Notice of Appeal to be served via the electronic case
 filing system upon the following counsel of record:

                                Anthony L. Marchetti
                                 Marchetti Law, P.C.
                           900 N. Kings Highway, Suite 306
                                Cherry Hill, NJ 08034

       Attorney for Plaintiffs Sam Hargrove, Andre Hall, and Marco Eusebio

       Additionally, a true and correct copy of the foregoing Notice of Appeal was

 sent, via U.S. Mail first class postage prepaid, on this 29th day of May, 2012 to the

 addresses listed below:

                                    I Stealth, LLC
                                c/o Samuel Hargrove
                                   20 Granby Lane
                           Willingboro, New Jersey 08046

                              Eusebio’s Trucking Corp.
                                 c/o Marco Eusebio
                              15 Lincoln Street, Apt. 1
                              Fairview, NJ 07022-2143

                               Curva Trucking, LLC
                                 c/o Marco Eusebio
                              15 Lincoln Street, Apt. 1
                              Fairview, NJ 07022-2143

                               Cross-Claim Defendants


                                               /s Elizabeth Tempio Clement
                                               Elizabeth Tempio Clement
